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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                               :
                                                       :     Case No. 21-cr-123 (PLF)
               v.                                      :
                                                       :
VITALI GOSSJANKOWSKI,                                  :
                                                       :
                                                       :
                Defendants.                            :




                      GOVERNMENT’S NOTICE OF WITHDRAWAL

       The United States of America by and through its attorney, the United States Attorney for

the District of Columbia, informs the Court that Assistant United States Attorney, Jacqueline

Schesnol, as counsel for the United States, is terminating her appearance as counsel of record in

this matter. All other government counsel noted on the docket at the time of this filing will

remain counsel for the United States.

                                                     Respectfully submitted,


                                                     MATTHEW M. GRAVES
                                                     United States Attorney
                                                     DC Bar No. 481052

                                                     /s/ Jacqueline Schesnol
                                                     JACQUELINE SCHESNOL
                                                     AZ Bar No. 016742
                                                     Trial Attorney
                                                     Capitol Riot Detailee
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                               CERTIFICATE OF SERVICE

       On this 9th day of April 2022, a copy of the foregoing was served upon all parties listed

on the Electronic Case Filing (ECF) System.

                                                    /s/ Jacqueline Schesnol
                                                    Jacqueline Schesnol
                                                    Trial Attorney




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